Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 1 of 60 PageID #:125




               EXHIBIT A
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 2 of 60 PageID #:125




                      IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                          COUNTY DEPARTMENT, CHANCERY DIVISION

  RIVER NORTH COLLECTIONS, LLC and )
  ROGER L. WESTON,                 )
                                   )                                                1~8CH 1 CI07:04
             Plaintiffs,           )                                               L!Er·{D,AR/fROOiM 02
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                                   )
                                                                              It1j if..Jt1c·t: i ow1
               v.                                        )
                                                         ) Case No.
 EMIGRANTA CORP. and EMIGRANT                            )
 BANK FINE ART FINANCE, LLC,                             ) Hon.
                                                         )
                       Defendants.                       )


                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

          Plaintiffs River North Collections, LLC ("River North") and Roger L. Weston ("Weston")

(collectively, "Plaintiffs"), by their attorneys, Novack and Macey LLP, for tgeir complaint against

Defendants Emigranta Corp. ("Emigranta") and Emigrant Bank Fine .
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"Bank") (collectively, "Defendants"), state as follows:
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Nature Of The Action                                                                          g:;o(n     •                   '
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          I.         This an action for declaratory and injunctive relief.   Defen~ant~~ slg~
                                                                                         i-       :1         ,.,......
enforce a purported $5 million promissory note, security agreement and UCC financing statement,

each as amended (collectively, the "Purported Loan Documents," as more particularly defined

below).

          2.         However, the Purported Loan Documents are products of multiple forgeries.

Although Defendants have been advised of the forgeries, they persist in seeking to enforce the

alleged loan and the Purported Loan Documents.

       3.            The property purportedly standing as security for the forged loan consists of unique

and extremely valuable pieces of museum-quality Chinese art.
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 3 of 60 PageID #:125




            4.    Plaintiffs seek declaratory relief to establish that:      (a) the Purported Loan

 Documents are forged instruments and are void and unenforceable; (b) Plaintiffs owe no payment,

 collateral or other obligations in connection with any of the Purported Loan Documents; and (c)

the purported collateral for the purported loan is not subject to any valid security agreement, claim

or interest in favor of Defendants. Plaintiffs seek preliminary and permanent injunctive relief to

protect their valuable rights for which there is no adequate remedy at law and without which they

will suffer irreparable harm.

Parties

            5.   Plaintiff River North is an Illinois limited liability company with offices in Chicago,

Illinois.

        6.       Plaintiff Weston is an individual who resides in Naples, Florida.

        7.       Defendant Emigranta is a New York corporation with offices in New York, New

York.

        8.       Defendant Bank is a limited liability company organized under the laws of

Delaware with offices in New York, New York.

Jurisdiction And Venue

        9.       Defendants are subject to personal jurisdiction in Illinois. Among other things: (a)

Defendants communicated with an individual located in Illinois to obtain his -- wholly

unauthorized -- execution of the Purported Loan Documents in Illinois; and (b) Defendants

recorded a purported UCC Financing Statement in Illinois against property located in Illinois.

        10.      Venue is proper in this Court pursuant to Section 2-101(2) of the Illinois Code of

Civil Procedure, 735 ILCS 5/2-101(2), because all or part of the transaction at issue took place in

Cook County, Illinois.



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  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 4 of 60 PageID #:125




         11.     Certain of the Purported Loan Documents contain a New York venue selection

 provision, but that provision, like the purported agreements of which it is a part, is a product of

 forgery (as described further below) and is unenforceable and void ab initio.

 General Allegations

         12.     Weston is, among other things, a world-renowned art collector and exhibitor. He

is a trustee of the Art Institute of Chicago (the "Museum") and the chairman of its Asian art

committee. Weston and his wife have donated, among other things, valuable Japanese artwork to

the Museum that is displayed in a gallery bearing their names.

        13.     River North is a limited liability company of which Weston's revocable trust is the

sole member. River North owns valuable pieces of historical Chinese art that were located and

selected by Weston and are stored in Cook County, Illinois.

        14.     Sultan Issa ("Issa") is an individual who provided certain financial services to

Weston, his family and their related entities. In or around 2014, Issa suggested to Weston that he

might be able to collateralize pieces of Chinese artwork from the River North art collection to

obtain a line of credit.

        15.     Issa initiated discussions with the Bank, which makes loans collateralized by works

of fine art. Weston was interested only in a line of credit under which he would not have to draw

any funds, or start paying interest, unless and until he needed funds. Weston spoke to the Bank

just one time, in the second half of 2014. No agreement was signed or concluded at that time.

        16.     Thereafter, Weston heard nothing from the Bank and no agreement was reached

with or signed by Weston. As such, Weston assumed that there was no and would be no loan of

any kind from the Bank.

        17.     However, unbeknownst to Weston and without his authority, Issa:



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  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 5 of 60 PageID #:125




                (a)    Secretly arranged for the Bank to provide a purported $5.0 million "Term"

        loan to River North and Weston;

               (b)     Forged Weston's signatures on the Purported Loan Documents;

               (c)     Purported to collateralize numerous unique and valuable pieces of the River

        North art collection (the "Purported Collateral"); and

               (d)     Directed the Bank to fund the purported loan proceeds to an account from

        which Issa withdrew monies for his own selfish purposes.

        18.    Issa, without any authority to do so, forged Weston's signature individually and on

behalf of River North, without limitation, on the following purported loan documents (the

"Purported Loan Documents"):

               (a)    A purported Term Note dated October 3, 2014, a copy of which is attached

       as Exhibit A (the "Purported Term Note");

               (b)    A purported Security Agreement dated October 3, 2014, a copy of which is

       attached as Exhibit B (the "Purported Security Agreement");

               (c)    A purported Allonge to Term Note dated December 9, 2015, a copy of

       which is attached as Exhibit C;

               (d)    A purported Second Allonge to Term Note dated June 5, 2017, a copy of

       which is attached as Exhibit D; and

              (e)     A purported Amendment of Security Agreement dated June 5, 2017, a copy

       of which is attached as Exhibit E.

       19.    Furthermore, Issa, without any authority to do so: (a) purported to close the

purported loan evidenced and/or collateralized by the Purported Loan Documents; and (b) obtained




                                                4
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 6 of 60 PageID #:125




 and withdrew the entirety of the $5.0 million in loan proceeds (except fees paid to the Bank) for

his own selfish purposes.

        20.     The Purported Security Agreement, as amended, purports to appoint Emigranta as

the agent of the Bank for the purposes of enforcing the Bank's rights thereunder, including with

respect to the Purported Collateral. On October 3, 2014, Defendants recorded a purported UCC

Financing Statement in favor of Emigranta and against the Purported Collateral (the "Purported

UCC Financing Statement"). A copy of the Purported UCC Financing Statement, as amended, is

attached as Exhibit F. The Purported UCC Financing Statement is among the Purported Loan

Documents that Defendants claim are enforceable.

        21.    Weston learned only recently of the purported loan, Issa's forgery, the unauthorized

attempt to pledge the Purported Collateral and Issa's unauthorized taking ofloan proceeds.

        22.    Weston promptly notified Defendants in writing of lssa's wrongdoing and the

invalidity of the Purported Loan Documents.

       23.     Despite the foregoing, the Bank has proceeded to seek to enforce the forged

Purported Loan Documents against Weston and River North. Among other things, the Bank has

attempted to declare a loan default by letters dated November 15, 2017 and January 12, 2018.

       24.     The Purported Collateral consists of unique, historical, valuable and irreplaceable

Chinese artwork that took more than a decade to accumulate, through the exercise of substantial

effort, expense and expertise.

       25.     Accordingly, River North and Weston bring this action to obtain declaratory and

injunctive relief to, among other things, prevent the Bank and its agent Emigranta from enforcing

or seeking to enforce the invalid, fraudulently obtained and forged Purported Loan Documents.




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  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 7 of 60 PageID #:125




 Declaratory Relief

        26.     As set forth above, there is an actual controversy between the parties as to, among

 other things, the following:

                (a)     The validity and/or enforceability of the Purported Loan Documents (Exs.

        A through F);

                (b)     The validity and/or enforceability of all UCC Financing Statements filed by

        Defendants with respect to the Loan Documents or against the Purported Collateral,

        including, without limitation, the Purported UCC Financing Statement filed on October 3,

        2014 (Ex. F).

                (c)     The existence of a purported default with respect to the Purported Term

        Note dated October 3, 2014, as amended (Exs. A, C and D); and

                (d)     Emigranta's purported right to take possession of, sell or otherwise dispose

        of the Purported Collateral.

        27.    The declarations sought herein will terminate the controversy between the parties,

or some part thereof, giving rise to this proceeding.

Preliminary And Permanent Injunctive Relief

       28.     Defendants' wrongful conduct is continuing. Among other things, Defendants have

issued notices of default dated November 15, 2017 and January 12, 2018 and continue to seek to

enforce the forged and invalid Purported Loan Documents.

       29.     As set forth above, Plaintiffs: (a) have a clear and ascertainable right with respect

to the Purported Loan Documents and Purported Collateral; (b) will suffer irreparable injury if the

requested injunctive relief is not granted; and (c) lack an adequate remedy at law.




                                                 6
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 8 of 60 PageID #:125




        30.     Moreover, Plaintiffs have a likelihood of success on the merits. Among other

things, Plaintiffs have shown that there is a fair question about the existence of their rights with

respect to the Purported Loan Documents and Purported Collateral. As set forth above, the

Purported Loan Documents are void -- having been procured through forgery and fraud

unbeknownst to the Plaintiffs -- and, as such, they do not give rise to a valid right to take, sell or

otherwise dispose of the Purported Collateral.

        31.     Permitting Defendants to enforce the void Loan Documents would leave Plaintiffs

without an adequate remedy at law and would enable the sale of valuable, one-of-a-kind artwork

that Plaintiffs did not intend to -- and did not -- pledge to Defendants as collateral.

        32.    Defendants will suffer no hardship as a result of being ordered to maintain the status

quo while the status of the Purported Loan Documents and rights in the Purported Collateral are

decided.

       WHEREFORE, Plaintiffs River North Collections, LLC and Roger L. Weston respectfully

request entry of a judgment in their favor and against Defendants Emigrant Bank Fine Arts

Finance, LLC and Emigranta Corp., as follows:

       A.      Declaring that the Purported Loan Documents and each of them are void and

               unenforceable;

       B.      Declaring that the Purported Collateral is not subject to any right, claim or security

               or other interest of, by or in favor of Defendants or either of them;

       C.      Enjoining Defendants -- preliminarily and permanently -- from enforcing or

               seeking to enforce the Purported Loan Documents in any fashion, including with

               respect to Plaintiffs or the Purported Collateral;




                                                  7
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 9 of 60 PageID #:125




         D.    Enjoining Defendants -- preliminarily and permanently -- from enforcing or

               seeking to enforce the Purported UCC Financing Statement with respect to the

               Purported Collateral;

         E.    Awarding Plaintiffs their litigation expenses and costs of suit; and

         F.   Awarding Plaintiffs such other and further relief as is appropriate.

                                              Respectfully submitted,

                                             RIVER NORTH COLLECTIONS, LLC AND
                                             ROGER L. WESTON




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                                                8
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 10 of 60 PageID #:125




                     EXHIBIT A
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 11 of 60 PageID #:125




                                               TERM NOTE

                                                                                     New York, New York

                                                                                           October 3, 2014

 $5,000,000.00

                    I.       Promise to Pay. FOR VALUE RECEIVED, each ofthe undersigned hereby
jointly and severally promises to pay, on the earlier of October 3, 2019 or the date, if any, on which the
 Obligations (as defined below) are declared due and payable by the Lender under paragraph VIII (the
 "Maturity Datej, to the order of EMIGRANT BANK FINE ART FINANCE, LLC (the "Lender"), at its office
 at 6 East 43n1 Street, 25th Floor, New York, New York 10017 or at such other office as the Lender may
 subsequently designate in writing, the principal sum of FIVE MILLION U.S. DOLLARS (US$5,000,000.00)
 or, if less, the unpaid principal of the amount advanced hereunder. Repaid advances may not be
reborrowed. Each of the undersigned also jointly and severally agrees to pay Interest on any and all
unpaid amounts from and including the date hereof to the Business Day (a day of the year on which
banks in New YO!* City are not required or permitted to be closed) on which any principal amount
becomes due, at the interest rate per annum as detennined in accordance with the terms below, but in no
event in excess of the maximum rate permitted by applicable law. The undersigned further agrees to pay
interest on all obligations of the undersigned hereunder at any time that an Event of Default (as defined
below) has occurred and is continuing, payable upon demand, at the Base Rate (8' defined below) plus
8%, but in no event in excess of the maximum rate permitted by applicable law. The proceeds of the
advance hereunder shall be used by the undersigned for lawful purposes only.

                  II.     Interest; Closing Fee. The undersigned promises to pay interest on the
 outstanding amount of the advance hereunder monthly on the last Business Day of each month (in
arrears) at an interest rate equal at all times to the Base Rate. "Base Rate" means the greater of: (a} a
fluctuating interest rate per annum equal at all times to the prime rate publfshed from time to time in the
"Key Rates" section on the website "bloomberg.com" plus 0.50%; and (b) 3.75% per annum. All
computations of interest shall be made by the Lender on the basis of a year of 360 days for the actual
number of days elapsed; prgyidE:tQ. however. that, if such computation shall cause the amount of interest
payable hereunder to exceed the maximum rate of interest permitted by applicable law, all computations
of interest shall be made upon the basis of a year of 365 or 366 days. Each determination of an interest .
rate hereunder shall be conclusive and binding for all purposes, absent manifest error. In addition, the
undersigned shall pay a closing fee to the Lender on the date hereof in the amount of $37,500, which fee
shall be fully earned and non-refundable when paid. Of such fee, $12,500 shall be payable by Lender to
UBS as a loan referral fee.

                         A. Highest Lawful Rate. Notwithstanding anything to the contrary contained
        elsewhere in this Note or in any other document related to this Note, the parties hereto hereby
        agree that all agreements between them under this Note and any other document related to this
        Note, whether now existing or hereafter arising and whether written or oral, are expressly limited
       so that in no contingency or event whatsoever shall the amount paid, or agreed to be paid, to the
        Lender for the use, forbearance, or detention of the money loaned to the undersigned and
       evidenced hereby or thereby or for the performance or payment of any covenant or obligation
       contained herein or therein, exceed the maximum non-usurious interest rate, if any, that at any
       time or from time to time may be contracted for, taken, reserved, charged or received on the
       Obligations, under the laws of the State of New York (or the laws of any other jurisdiction whose
       laws may be mandatorily applicable notwithstanding other provisions of this Note and the other
       documents related to this Note), or under applicable federal laws which may presently or
       hereafter be in effect and which allow a higher maximum non-usurious interest rate than under
       the laws of the State of New York (or such other jurisdiction), in any case after taking into
       account, to the extent permitted by applicable law, any and all relevant payments or charges
       under this Note and the other documents related to this Note executed in connection herewith,
       and any available exemptions, exceptions and exclusions (the "Highest Lawful Rate"). If due to
       any circumstance whatsoever, fulfillment of any provision of this Note or any other document

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 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 12 of 60 PageID #:125




         related to this Note at the time performance of such provision shall be due shall exceed the
         Highest Lawful Rate, then, automatically, the obligation to be fulfilled shall be modified or reduced
         to the extent necessary to limit such interest to the Highest Lawful Rate, and if from any such
         circumstance the Lender should. ever receive anything of value deemed interest by applicable law
         which would exceed the Highest Lawful Rate, such excessive interest shall be applied to the
         reduction of the principal amount then outstanding hereunder or on account of any other then
         outstanding Obligations and not to the payment of interest, or if such excessive interest exceeds
        the principal unpaid balance then outstanding hereunder and such other then outstanding
        Obligations, such excess shall be refunded to the undersigned. AJI sums paid or agreed to be
        paid to the Lender for the use, forbearance, or detention of the Obligations and other Debt (as
        defined below) of the undersigned to the Lender shall, to the extent permitted by applicable law,
        be amortized, prorated, allocated and spread throughout the full term of such Debt, until payment
        in full thereof, so that the actual rate of interest on account of all such Debt does not exceed the
        Highest Lawful Rate throughout the entire term of such Debt. The terms and provisions of this
        paragraph shall control every other provision of this Note, the other documents related to this
        Note and all other agreements between the parties hereto.

                 Ill.    Payments. All payments of principal, interest and other amounts due under this
 Note shall be made to the lender by check or wire transfer to account number 260352333500 maintained
with Emigrant Bank (ABA Number 226070403) in lawful money of the United States not later than 12:00
noon (New York City time) on the day when due. The Lender shall provide to the undersigned, no later
than ten Business Days before the laSt Business Day of each month, an invoice indicating the amount of
accrued and unpaid interest that will become due on the last Business Day of such month if no further
advances are made before such last Business Day. The Lender's failure to provide such an invoice to
the undersigned shall not excuse the undersigned from making any payments required under this Note on
the date any such payment is due or from complying with any of the terms hereof to comply with the
terms of the Security Agreement dated the date hereof (as amended, supplemented or otherwise
modified from time to time, the "Security Agreement"} by the undersigned in favor of Emigranta Corp., as
agent for the Lender. All payments of principal, interest and other amounts payable hereunder shall be
made without defense, claim, counterclaim, setoff or recoupment. The proceeds of any advance
hereunder shall be wired otherwise made as directed by the undersigned.

                           A. Principal Repayment. The undersigned shall repay the principal amount of
        this Note in full on the Maturity Date.

                        B. Prepayments. The undersigned shall have the right to prepay this Note in
       whole or in part at any time, without penalty; provided, however, that should the undersigned
       repay this Note in whole or in part on or before the one-year anniversary of the date hereof, the
       undersigned shall pay the Lender a prepayment fee equal to one percent (1.0%) of the principal
       amount prepaid.

                         C. Increased Costs. If, after the date of this Note, any change in applicable
        law or regulation or in the interpretation or administration thereof by any governmental authority
       charged with the interpretation or administration thereof (whether or not haVing the force of law).
       and which change is applicable generally to other financial institutions. shall change the basis of
       taxation of payments to the Lender of the principal of or interest on the advances made by the
       Lender hereunder or any fees or other amounts payable hereunder (other than changes in
       respect of taxes imposed on the overall net income of the Lender), or shall impose, modify or
       deem applicable any reserve, special deposit or similar requirement against assets of, deposits
       with or for the account of or credit extended by the Lender or shall impose on the Lender any
       other condition affecting this Note or the advances hereunder, and the result of any of the
       foregoing shall be to increase the cost to the lender of making or maintaining the advances
       hereunder or to reduce the amount of any sum received or receivable by the Lender hereunder
       (whether of principal, interest or otherwise), then the undersigned shall pay to the Lender such
       additional amount or amounts as will compensate the Lender for such additional costs incurred or
       reduction suffered.

                                                2
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 13 of 60 PageID #:125




                  IV.      Taxes.

                           (a)      Any and all payments by the undersigned under this Note shall be made
                                    free and clear of and without deduction for any and all present or future
                                    taxes, levies, imposts, deductions, charges or withholdings, and all
                                    liabilities with respect thereto {all such taxes, levies imposts, deductions,
                                    charges, withholdings and liabilities being hereinafter referred to as
                                    "Taxes").

                           (b)      In addition, the undersigned shall pay any present or Mure stamp,
                                    documentary, excise, property or similar taxes, charges or levies that
                                    arise from any payment made under th~ Note or from the execution,
                                    delivery or registration of, or otherwise with respect to, this Note (all such
                                    taxes, charges and levies being hereinafter referred to as "Other Taxes").

                          (c)       The undersigned shall indemnify the Lenderfor the full amount of Taxes
                                    and Other Taxes, and for the full amount of taxes imposed by any
                                    ju~iction on amounts payable under this Paragraph IV, paid by the
                                    Lender and any liability (including, without limitation, penalties, additions
                                    to tax, interest and expenses) arising therefrom. or with respect thereto.
                                    This indemnification payment shall be made within thirty days from the
                                    date the Lender makes written demand therefor.

                          (d)       Without prejudice to the survival of any other agreement of the
                                    undersigned under this Note, the agreements and obtlgations of the
                                    undersigned contained in this Paragraph IV shall survive the payment in
                                    full of principal and interest under this Note.

                   V.      Representations and Warranties. To induce the Lender to make any advance
 under this Note, the undersigned represents and warrants as follows: (i) all necessary action has been
 taken to authorize the .execution, delivery and performance by the undersigned of this Note and all
 agreements, instruments and other documents execi.tted in connection herewith, and the transactions
 contemplated hereby and thereby; (ii) the execution, delivery and performance by the undersigned of this
 Note and all agreements, instruments and other documents executed in connection herewith do not
 contravene any law or contractual restriction binding on or affecting the undersigned or any of the
 undersigned's property; (iii) no authorization or approval or other action by, and no notice to or filing with,
 any governmental authority or regulatory body is required for the due execution, defivery and
 performance by the undersigned of this Note or any agreements, instruments and other documents
 executed in connection herewith; (iv) this Note and all agreements, instruments and other documents
executed in connection herewith is the legal, valid. and binding obligation of the undersigned enforceable
against the undersigned in aceordance with its terms; (v} there ~ no pending or threatened investigation,
litigation or proceeding affecting the undersigned that (A) could be reasonably likely to have a material
adverse effect on the financial condition, assets, liabilities, operations or prospects of the undersigned or
the ability of the undersigned to perform the undersigned's obligations under this Note or any
agreements, instruments and other documents executed in connection herewith or (8) purports to affect
the legality, validity or enforceability of this Note or any agreements, instruments and other documents
executed in connection herewith; (vi} since the date of the most recent financial statements of the
undersigned and any guarantor furnished to the Lender in connection with this Note, no event has
occurred that could be reasonably likely to have a material adverse effect on the financial condition,
assets, liabilities, operations or prospects of the undersigned or any guarantor or the ability of the
undersigned or any guarantor to perform the undersigned's or guarantor's obligations under this Note or
any agreements, instruments and other documents executed in connection herewith; (vii) except with
respect to the Existing Debt as set forth in the most recent financial statements of the undersigned, there
exist no liens, security interests or other charges or encumbrances, or any other type of preferential
arrangements, upon or with respect to any of the undersigned's properties or the properties of any
guarantor, and neither the undersigned nor any guarantor has assigned any right to receive income to

                                                   3
   Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 14 of 60 PageID #:125




  secure any Debt (as defined below) of any person or entity except the Lender and liens securing the
  Existing Debt (defined below), provided that such liens do not encumber the Collateral (as defined in the
  Security Agreement); and (viii) the undersigned have no Debt except for Debt disclosed on Roger L.
  Weston's personal financial statement dated July 24, 2014 (the "Existing Debt") and the Debt owed the
  Lender.

                     VI.     Conditions Precedent. The obligation of the Lender to make the initial advance
   hereunder is subject to the delivery to the Lender of the foflowing: {i) this Note and the Security
   Agreement, each duly executed by undersigned; (ii} evidence of insurance acceptable to the Lender
   covering the Works (as defined in the Security Agreement) in an amount not less than $12,000,000 and
   naming Lender as loss payee and additional insured, (Hi) an Affidavit of Ownership attesting to the
   undersigned's ownership of the Works, duly completed and executed by the undersigned, together with
  bills of sale with respect to the Works, (iv) a spousal affidavit from Pamela Weston; (v) an acceptable
  legal opinion from counsel to River North Collections, LLC and the Roger L. Weston Revocable Trust; (vi)
  such other documentation relating to the Obligations as the Lender may request, in each case in form and
  substance satisfactory to the Lender, and dated the date hereof or such other date as is satisfactory to
- the Lender; (vii) receipt by Lender of search results from the Art Loss· Register with respect to the Works
  and registration with the Art Loss Register of aff Works, (viii} payment of the closing fee descnbed in
  Sectioo II hereof; and (ix) reimbursement of Lender's fees and expenses, including but not limited to legal
  fees and expenses.

                  VII.     Covenants. So long as this Note or any note or notes which may be given in
  renewal or extension of all or any part of the indebtedness evidenced by this Note (each of which being
  an "Other Note"; the indebtedness evidenced hereby or by any Other Note being hereinafter referred to
  as the "Obligations; shall remain unpaid, the undersigned will (ancl will cause each guarantor to):

                  (i) comply in all material respects with all applicable laws, rules, regulations and orders,
                  such compliance to include, without limitation, paying before the same becOme
                  delinquent all taxes, assessments and governmental charges imposed upon the
                  undersigned or its property, except to the extent contested in good faith and by
                  appropriate proceedings;

                  (ii) furnish or cause to be furnished to the Lender, as soon as available and in any event
                  within (A) 15 days after the filing thereof, copies of the income tax returns of the
                  undersigned and any guarantor, commencing with the year 2014 and all schedules
                  thereto, (B) 90 days after the end of each calendar year, internally prepared financial
                  statements of undersigned and any guarantor, in form and detail satisfactory to the
                  Lender as of the end of or for such year, together with such other information respecting
                  the financial condition of undersigned and any guarantor as the Lender may from time to
                  time request; and (C) within 30 days after the end of each calendar quarter, detailed
                  reports setting forth the location of all Collateral and noting any changes or sales since
                  the prior quarter-end;             ·

                  (iii) notify the Lender not less than thirty (30) days prior to relocating or changing
                  undersigned's principal place of business or principal residence from the location set forth
                  on the signature page of this Note;

                  (iv) give the Lender written notice of any Event of Default or any event which, with the
                  giving of notice or the passage of time, or both, would constitute an Event of Default,
                  within three Business Days of the occurrence thereof;

                  (v) not incur, create or suffer to exist any Debt other than the Existing Debt, up to
                  $3,000,000 of residential mortgage Debt and up to $25,000,000 of other debt secured by
                  income generating assets. For purposes hereof, "Debt" of any person or entity means
                  (A) indebtedness of such person or entity for borrowed money or for the deferred
                  purchase price of property or services, (B) all obligations of such person or entity

                                                   4
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 15 of 60 PageID #:125




                  evidenced by bonds, notes, debentures or other similar instruments, (C) all indebtedness
                  created or arising under any conditional sale or other title retention agreement, (0) all
                  obligations under leases which are or should be recorded as capital leases in accordance
                  with generally acceptable accounting principles under which such person or entity is the
                  lessee, and. (E} all amounts guaranteed directly or indirectly in any manner by such
                  person or entity including by entering into a purchase agreement or any other means to
                  assure a creditor against loss, including by the grant of any lien, security interest or other
                  charge or encumbrance upon or in property;        ·

                  (vi} not grant or otherwise allow to exist any liens, security interests or other
                  encumbrances, provided that undersigned and any guarantor may grant liens to secure
                  the Existing Debt and other Debt permitted pursuant to clause (v) above, provided
                  further, however, that in no event shall such liens, security interests or other
                  encumbrances encumber any of the Collateral; ·

                  (vii) not change the manager of River North Collections, LLC from Greatbanc,lnc., or
                  allow River North Collections, LLC to have any members other than Roger L. Weston
                  Revocable Trust; and

                  (viii) not use any accounts with Lender or its affiliates in connection with any business of
                  placing, receiving or otherwise knowingly transmitting bets or wagers through the
                  internet.

                   VIII.   Events of Default; Remedies. Jf any of the following events \'Events of
  Defaulf') shall occur and be continuing: (a) the failure of the undersigned or any guarantor to pay when
  due any of the Obligations when payable unless, in the case of Obligations evidenced hereby or other
  Obligations payable on demand, when payment is demanded; (b) the failure of the undersigned or any
  guarantor to perform or observe any covenant or other obligation hereunder, under the Security
  Agreement or under any instrument, agreement or other document defivered in connection herewith or
  therewith including, without limitation, the failure of the undersigned or any guarantor to furnish to the
  Lender any financial statement, report or other document required or requested by the Lender in
  accordance with Paragraph Vll(ii); (c) the filing of any petition by or against the undersigned, or any
  guarantor, or the commencement of any proceedings for the relief or readjustment of any indebtedness of
  the undersigned or any guarantor, either through reorganization, composition, extension or othetwise,
  under any law relating to bankruptcy, Insolvency or reorganization or relief of debtors, or the taking of any
  action by the undersigned or any guarantor to authorize any of the foregoing; (d) the general nonpayment
 of the undersigned or any guarantor of its debts as such debts become due, or the admission in writing by
 the undersigned or any guarantor of its inability to pay such debts generally, the making by the
  undersigned or any guarantor of a general assignment for the benefit of creditors or the taking advantage
 by the undersigned or any guarantor of any insolvency law; (e) the appointment of a receiver or
 conservator for any property of the undersigned or any guarantor; (f) the attachment or distraint of any
 funds or other property in which the undersigned or any guarantor has rights which may be in, or come
 into, the possession or control of the Lender, or of any third party acting for or designated by ttie Lender,
 or in which a security interest has been granted to or for the benefit of the Lender, or of the same
 becoming subject at any time to any mandatory order of any court or other legal process; (g) any
 representation or warranty made by the undersigned or any guarantor under or in connection with this
 Note, or any other agreements, instruments or other documents executed in connection herewith or
 therewith, or any financial statement or certificate delivered in connection herewith or therewith shall have
 been materially incorrect when made or deemed made; (h) the undersigned or any guarantor shall be in
 breach or default of its obligations under any agreement or instrument with the Lender, or any agreement
or instrument with any other party, if the effect of such breach or default is to cause the obligations
thereunder to become due or redeemed or to permit the holder or holders of such obligations to declare
such obligations due or require such obligations to be redeemed prior to their stated maturity; (i) any
judgment or order for the payment of money that is not supported by a bond or other method reasonably
acceptable to the Lender is rendered by a court or governmental authority against the undersigned or any
guarantor; 0) there shall occur a material adverse change in the financial condition, assets or liabilities of

                                                  5
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 16 of 60 PageID #:125




  the undersigned or any guarantor; or (k) the death of undersigned or any guarantor; then, (x) the Lender
  may declare this Note and any Other Note, all interest hereon or thereon, and any and all other amounts
  payable hereunder or thereunder, to be immediately due and payable, whereupon this Note, each Other
  Note, all such interest and all such other amounts shall become and be immediately due and payable, all
  without presentment, protest, demand or notice of any kind, all of which are expressly waived by the
  undersigned, (y) any or all of the other Obligations then existing, shall, at the option of the Lender,
  become due and payable forthwith and (z) the Lender may terminate any obligation it may have to make
 any advance hereunder, all without presentment, protest, demand or notice of any kind, all of which are
 expressly waived by the undersigned; provided, however, that, in the event of any actual or deemed entry
 of an order for relief with respect to the undersigned or any guarantor under the Federal Bankruptcy
 Code, this Note, each 0th.er Note, all such interest and all such other amounts shall automatically
 become and be due and payable, and any such obligation of the Lender shall be terminated, all without
 presentment, protest, demand or notice of any kind, all of which are expressly waived by the undersigned.
 Notwithstanding anything to the contrary set forth herein, in the case of a non-monetary default, provided
 that the non-monetary default is capable of being cured, the Lender shall provide the undersigned wt1h
 written notice specifying the default and a 30 day period to cure said default.

                  IX.       Right of Setoff. In addition to and not in limitation of alt rights of offset that the
Lender or any of its affiliates may have under applicable law, whether or not the Lender has made any
demand for payment hereunder or such obligations are unmatured, the Lender and its affiliates shall have
the right at any time and from time to time, to the fullest extent permitted by law, with or without notfce to ·
the undersigned, to set off, appropriate and apply to the payment or reduction, either in whole or iri part,
of the amount owing on all or any of the Obligations evidenced by this Note or by any Other Note which
may be given in renewal or extension of all or any part of such indebtedness, whether or not the Lender
has made any demand for payment hereunder or the Obligations are unmatured, all deposits (general or
special, time or demand, provisional or final) and other obligations at any time held or owing by the
Lender or any of its affiliates to the undersigned.

                  X.      Costs/Expenses; Etc. The undersigned agrees to pay on demand all costs and
expenses in connection with the preparation, execution, delivery, administration, modifJCStion,
amendment and enforcement (whether through legal proceedings, negotiations or otheiwise) of this Note
and any other document to be delivered hereunder or in connection herewith (such costs and expenses
shalt include, without limitation, the fees and disbursements of legal counsel). The undersigned agrees to
indemnify and hold harmless the Lender and each of its directors, officers, employees, agents, affiliates
and advisors from and against any and all claims, damages, losses, liabilities, costs and e)cpenses
(Including, without Hmitation, fees and disbursements of counsel) which may be incurred by or asserted
against the Lender or any sucli director, officer, emplOyee, agent, affiliate or advisor in connection with or
arising out of any investigation, subpoena, litigation or proceeding related to or arising out of this Note or
any other document to be delivered hereunder or in connection herewith or any transaction contemplated
hereby or thereby (but in any case excluding any such claims, damages, losses, liabilities, costs or
expenses incurred by reason of the gross negligence or willful misconduct of the indemnitee). The
obligations of the undersigned under this paragraph shall suivive the payment in full of this Note.

                  XI.      Assignment The undersigned may not assign any of its rights or obligations
 under this Note. The Lender may assign to one or more banks or other entities all or a portion of its rights
under this Note or issue pass through certificates or other securities ("Securities") evidencing a beneficial
interest in a rated or unrated public offering or private placement (a •securitization"). In the event of an
assignment of all of its rights, the Lender may transfer this Note to the assignee. In the event of an
assignment of a portion of its rights under this Note, the Lender shall deliver to the undersigned a new
note to the order of the assignee in an amount equal to the principal amount assigned to the assignee
and a new note to the order of the Lender in an amount equal to the principal amount retained by the
Lender (collectively, the "New Notes"). Such New Notes shall be in an aggregate principal amount equal
to the principal amount of this NOte, shall be dated the effective date of the assignment and otherwise
shall be substantially identical to this Note. Upon receipt of the New Notes from the Lender, the
undersigned shall execute such New Notes and, at the expense of the undersigned, promptly deliver
such New Notes to the Lender. Upon receipt of the executed New Notes from the undersigned, the

                                                   6
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 17 of 60 PageID #:125




  Lender shall return this Note to the undersigned. The Lender and the assignee shall make all appropriate
  adjustments in payments under this Note for periods prior to such effective date directly between
  themselves. In the event of an assignment of alt or any Portion of its rights hereunder, the Lender may
  transfer and deliver all or any of the property then held by it as security for the undersigned's obligations
  hereunder and the assignee shall thereupon become vested with all the powers and rights herein given to
  the Lender with respect thereto. After any such assignment or transfer, the Lender shall be forever
  relieved and fully discharged from any liability or responsibility in the matter, and the Lender shall retain
 all rights and pawers hereby given with respect to property not so transferred. The Lender may sell
 participations to one or more banks or other entities in or to all or a portion of its rights under this Note;
 provk,!ed, however. that in such case the Lend'r shall remain the holder of this Note and accordingly the
 undersigned shal continue to deal solely and directly with the Lender in connection with the Lender's
 rights under this Note. The Lender may, in connection with any assignment, participation or
 Securitizatlon or p{OpoSed assignment, participation or Securitization, disclose to the assignee or
 participant or proposed assignee or propased participant or any purchaser or prospective purchaser of
 Securities any infonnation relating· to the undersigned furnished to the Lender by or on behalf of the
 undersigned, provided that, prior to any such disclosure, the assignee, participant or purchaser or
proposed assignee, participant or purchaser shall agree to preserve the confidentiality of any confidential
 information re~ to the undersigned received by it from the Lender. At the.request of the Lender, at the
undersigned's expense, the undersigned shall satisfy the market standards whfch may be reasonably
required in the marketplace or by Standard & Poor's Ratings Services, a division of McGraw Hill, Inc.,
Moody's Investors Service, tnc., Fitch, Inc. or any other nationally-recognized statistical rating agency
which has rated the Securities in connection with a Securitization or the sale or pledge of the Note, any
participation therein or the Securities including, without limitation, the delivery of a certificate, in form and
substance satisfactory to the Lender, confirming, among pther things, the outstanding principal amount of
the Obligations, that attached thereto are true and complete copies of the Note and the Security
Agreement and all amendments thereto and that no Event of Default is then in existence.

                  XII.   "Properly". The word "property," as used herein, includes goods and
merchandise, funds, cash balances, securities (including certificated, uncertificated and book-entry
securities), investment property, financial assets, accounts receivable, general intangibles, choses in
action and any and all other forms of property, whether real, personal, or mixed, tangible or intangible,
together with the proceeds thereof, any right, title or interest of the undersigned therein or thereto, and
any documents relative thereto.

                 XIII.  Obligations of Others. The undersigned's obligations under this Note will also
be binding on its successors and assigns.

                  XIV.     Notices. All notices and other communications provided for hereunder shall be
in writing and sent by certified or registered mail, return receipt requested, or nationally recognized
overnight delivery service, or delivered by hand or courier, with all charges prepaid. Notices to the
Lender shall be sent to its address set forth in paragraph I above. Notices to the undersigned shall be
sent to the address for the undersigned set forth below until such undersigned specifies another address
in a notice delivered to the Lender in accordance with this paragraph. Notice will be deemed received, if
to the Lender, upon actual receipt, and if to the undersigned, within five Business Days of the mailing of
notice in the case of certified or registered mail and within one Business Day if sent by overnight delivery
service, or upan confirmation of delivery by hand or courier, or when delivery is refused.

                  XV.     Headings. Headings as used herein are for convenience only and shall have no
force or effect upon the construction or interpretation hereof.               ·

                  XVI.    Severabllity. In case any provision in or obligation under this Note or any other
document related to this Note shall be invaffd, illegal or unenforceable in any jurisdiction, the validity,
legality and enforceability of the remaining provisions or obligations, or of such provision or obligation in
any other jurisdiction, shall not in any way be affected or impaired thereby.



                                                  7
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 18 of 60 PageID #:125




                 XVII. Entire Agreement. This Note and the other documents related to this Note.
constitute the entire understanding between the parties hereto with respect to the subject matter hereof
and supersede any prior or contemporaneous agreements, written or oral, with respect thereto.

                  XVIU. Waiver; Govemlng Law. The undersigned hereby waives presentment for
payment, demand, notice of dishonor and protest of this Note and further.agrees that this Note shall be
deemed to have been made under and shall be governed by the laws of the State of New York in all
respects, including matters of construction, validity and performance, without giving effect to principles of
conflicts of law (other than under Section 5-1401 of the New York General Obligations Law, except with
respect to interest rate, which shall be governed by applicable law) and that none of its terms or
provisions may be waived, altered, modified or amended except as the Lender may consent thereto in
writing duly signed for and on its behalf.

                  XIX.  Joint and Several Liablllty. If there is more than one undersigned executing
this Note, all agreements, conditions, covenants and provisions of this Note shall be the joint and several
obligation of each undersigned.

                 XX.      Jurisdiction. Without limiting the right of the Lender to bring any action or
 proceeding against the undersigned or against its property arising out of or relating to any obligation of
the undersigned or this Note (an "Action; in the courts of other jurisdictions, the undersigned hereby
 irrevocably submits, with respect to any Action (and, excluSive!y, with respect to any other proceeding
involving the undersigned and the Lender), to the jurisdiction of any New York State or Federal court
sitting in New York City, and the undersigned hereby irrevocably agrees that any Action may be heard
and determined In such New York State court or in such Federal court. The undersigned hereby
irrevocably waives, to the fullest extent it may effectively do so, the defense of an inconvenient forum to
the maintenance of any Action in any jurisdiction. The undersigned may be served in any manner
permitted by law.




                                                 8
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 19 of 60 PageID #:125




             XXL    JURY TRIAL WAIVER. THE UNDERSIGNED ANO THE LENDER (BY ITS
 RECEIPT OF THIS NOTE) HEREBY IRREVOCABLY WAIVE ALL RIGHT TO TRIAL BY JURY IN ANY
 ACTION, PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING TO ANY
 OBLIGATION OF THE UNDERSIGNED OR THIS NOTE.




 Address: 360 West Illinois Street, Suite 11 C
           Chicago, IL 60654          .


 RIVER NORTH COLLECTIONS, LLC




 Address: 360 West Illinois Street, Suite 11 C
           Chicago, IL 60654




                                                 9
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 20 of 60 PageID #:125




                      EXHIBITB
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 21 of 60 PageID #:125




                   SECURITY AGREEMENT (this "Security Agreement''), dated as of October 3,
 2014 by River North Collections LLC, an Illinois limited liability company with its chief
 executive office and principal place of business located at 360 West Illinois Street, Apt I IC,
 Chicago, IL 60654 (the "Grantor"), in favor of Emigranta Corp. (the "Agent"), a New York
 corporation, with offices located at 6 East 43r<1 Street, 25th Floor, New York, New York 10017,
 as agent for Emigrant Bank Fine Art Finance, LLC (the "Lender") with offices located at 6 East
 43r<1 Street, 25th Floor, New York, New York 10017.

                                PRELIMINARY STATEMENTS

                The Lender has agreed to make a loan to the GrantOr and Roger L. Weston· in the
aggregate principal amount of $5,000,000 (the "Loan"). The Loan is evidenced by a Term Note
of even date herewith (as amended, supplemented or otherwise modified from time to time, the
''Note"; capitalized terms used herein and not otherwise defined being used herein as therein
defined), by the Grantor and Roger L. Weston in favor of the Lender.

                It is a condition precedent to the making of the Loan by the Lender that the
Grantor shall have executed and delivered this Security Agreement to provide for the grant by
the Grantor of a lien on certain Works described in Section l of.the Security Agreement, ownec:l
by the .Grantor, as more fully described herein.

               NOW, THEREFORE, in consideration of the promises and agreements herein
and to induce the Lender to make the Loan, the Grantor hereby agrees as follows:

                 SECTION 1.              COLLATERAL. As collateral security for the prompt
payment in full when due (whether at stated maturity, by accelerati9n or otherwise) of the
obligations of the Grantor under the Note (the "Obligations"), the Grantor hereby pledges and
assigns to the Agent, and grants to the Agent a continuing security interest in the following
(collectively, the "Collateral"): (i) the works of art described on Exhibit A attached hereto
(hereinafter being collectively referred to~ the "Works"). and (ii) in connection with such
Works (A) all documents of title or documents representing the same and all records, files and
writings with respect thereto, all accounts, contract rights, chattel paper, instruments, documents.
general intangibles and other rights or obligations of any kind, whether now or hereafter existing
and whether now owned or hereafter acquired, arising out of or relating thereto, (B) all rights
now and hereafter existing in and to all security agreements, leases and other contracts now or
hereafter existing and securing or otherwise relating to such accounts, contract rights, chattel
paper, instruments, documents general intangibles or obligations (any and all such accounts,
contract rights, chattel paper, instruments, doctiments, general intangibles and obligations being
hereinafter referred to as the "Receivables"), and, (C) all proceeds of any and all of the foregoing
and, to the extent not otherwise included, all payments under insurance (whether or not the
Lender or Agent is the loss payee thereof), or any indemnity, warranty or guaranty, payable by
reason of loss or damage to or otherwise with respect to any of the foregoing.

         SECTION2.           THE GRANTOR'S REPRESENTATIONS AND
WARRANTIES. The Grantor represents and warrants to the Agent as follows:




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 22 of 60 PageID #:125




                  SECTION 2.1           Location ofWork8. For so long as any Obligations are
 outstanding under the Note, the Works shall be located at one of the locations listed on Exhibit
 A, or upon prior written notice to .Agent and receipt by Agent of a fully-executed tri-party
 bailment agreement acceptable to Agent, may be relocated to public museums or other
 institutions for purposes of display of the Works.

                SECTION 2.2             No Limitation on Agent's Rights. None of the Works are
 subject to any contractual obligation that may restrict or inhibit the Agent's rights or ability to
 seU or dispose of the Works.                                                                 ·

                SECTION 2.3             Title to Collateral; Liens. The Grantor is the sole legal
and beneficial oWner of the Works, and the Grantor has good and marketable title to the Works,
free and clear of any liens, security interests, charges, pledges, assignments, hypothecations,
claims, lea8es, conditional sales, options, retention of title or any other preferential arrangement
having substantially the same effect as any of the foregoing, whether voluntary or imposed by
law, except for the lien of this Security Agreement. No effective financing statement or other
instrument similar in effect covering all or any part ofthe Works or other Collateral is on file in
any  recording office. To Grantor's knowledge, there are no ownership or other claims to or
against the Works.by any national treasurer or that assert that the Works constitutes war booty or
stolen goods. To Grantor's knowledge, the Works have been imported to the United States and
have been permanently exported from its country of origin in accordance with all applieable laws
of both its country of origin and of the United States, all required declarations upon the export
and import of the Works has been properly made, and all duties and taxes on such export and
import have been paid.

                 SECTION 2.4             Perfection of Security Interest. This Security Agreement
is effective to create a valid security interest in favor of the Agent in the Collateral and, upon the
filing of a Uniform Commercial Code financing statement naming the Grantor as debtor and the
Agent as secured party and describing the Collateral, 'Ute Agent will have a duly perfected first
priority security interest in the Collateral.

               SECTION 2.5           Authenticity of the Works. Each Work is in the
possession of the Grantor and, to Grantor's knowledge, is the original, authentic product as set
forth on Exhibit A and has the dimensions, is in the medium and bears the title and date specified
for such Work on Exhibit A.

                SECTION 2.6             No Consents, Authorizations, Etc. No authorization or
approval or other action by, and no notice to or filing with, any governmental authority is
required for (i) the grant by the Grantor, or the perfection, of the security interest purported to be
created hereby in the Collateral, or (ii) the exercise by the Agent of any of its rights and remedies
hereunder, except for the filing of the financing statement specified in Section 2.4.

             SECTION 2.7            Insurance. The Works are currently insured, with all
premiums paid, under an insurance policy which meets the requirements of Section 3.5.

               SECTION3.             COVENANTS AS TO THE COLLATERAL. So long
as any of the Obligations remain outstanding:


                                                -2-
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 23 of 60 PageID #:125




                 SECTION 3.1            Further Assurances. The Grantor will, at the Grantor's
 expense, at any time and from time to time, promptly execute and deliver all further instruments
 and documents and take all further action that may be necessary or desirable or that the Agent
 may reasonably request to (i) perfect and protect the security interest created or purported to be
 created hereby, (ii) enable the Agent to exercise and enforce its rights and remedies hereunder in
respect of the Collateral and (iii) otherwise effect the purposes of this Security Agreement
 including, without limitation: (A) at the request of the Agent marking conspicuously each of its
records pertaining to the Collateral with a legend, in form and substance satisfactory to the
Agent, indicating that such Collateral is subject to the security interest created hereby; (B)
executing and.filing such financing or continuation statements, or amendments thereto, as may
be necessary or desirable or that the Agent may re~onabfy request to perfect and preserve the
security interest purported to be created hereby; (C) furnishing to the Agent from time to time
such other reports in connection with the Collateral as the Agent may reasonably request, all in
reasonable detail; and (D) executing and delivering all instruments, documents and consents, and
taking all further action that may be necessary or desirable, or that the Agent may reasonably
request, in each case, with reasona:ble notice and during normal business hours, to enable the
Agent to gain access to the premises where the Collateral is located.

                 SECTION 3.2            Location of Grantor and the Collateral. The Grantor
shall notify the Agent in writing not less than thirty (30) days prior to any change in its principal
place of business from the addresses set forth in the introductory paragraph of this Security
Agreement. The Grantor shall keep the Works in its possession at the locations specified in
Section 2.1, or upon prior written notice to Agent and receipt by Agent of a fully-executed tri-
party bailment agreement acceptable to Agent, Grantor may cause the Works to be relocated to
public museums or other institutions for purposes of display and for Conservation. Upon the
occurrence and during the continuance of an Event of Default, the Grantor will, at the Grantor's
expense, deliver the Works or cause the Works to be delivered to any location as the Agent may
designate. The Grantor acknowledges that the terms of this Security Agreement are in full force
and effect at all times the Note (as defined herein) is in full force and effect wherever the Works
are located throughout the entire world.

                SECTION 3.3           Condition of the Works. The Grantor will cause the
Works to be maintained in the same condition and environment as of the date last inspected by
Agent prior to the date hereof; provided, however, the Grantor may restore, conserve and repair
any of the Works (collectively, "Conservation,,).

               SECTION 3.4            Taxes and other Claims. The Grantor will pay promptly
when due all property and other taxes, assessments and governmental charges or levies imposed
upon or assessed with respect to, and all claims against, the Collateral.

               SECTION 3.5 ·           Insurance; Protective Advances.

                       (a)     The Grantor will, at the Grantor's expense, maintain insurance
       with respect to the Works in such amounts, against such risks (including, without
       limitation, theft, burglary, loss and damage), in such form and with such insurers as shall
       be satisfactory to the Lender from time to time, but in any event the amount of such
       insurance shall be at least $12,000,000, net of deductibles. Each policy for insurance


                                                -3-
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 24 of 60 PageID #:125




         shall (i) name the Grantor and the Agent or Lender as insured parties thereunder (without
         any representation or warranty by or obligation upon the Agent or Lender) as their
          interests may appear and shall cover the Agent or Lender as an additional insured and co-
          loss payee, (ii) contain the agreement by the insurer that any loss thereunder shall be
         payable to the Agent or Lender notwithstanding any action, inaction or breach of
         representation or warranty by the Grantor, (iii) provide that there shall be no recourse
         against the Agent or Lender for payment of premiums or other amounts with respect
         thereto and (iv) provide that at least thirty days' prior written notice of cancellation, lapse
         or substantial modification, and the opportunity to cure any failure by the Grantor to pay
         premiums for such policy, shall be givep to the Agent or Lender by the insurer. The
         Grantor will deliver to the Lender original or duplicate policies of such insurance and, as
         often as the Lender may reasonably request, a report of a reputable insurance broker with
         respect to such insurance to confirm the Granter's compliance with this Section.

                        (b)     The Grantor shall give the Lender and the insurer immediate
        written notice of any loss or damage to the Works and promptly file proof of any loss
        with such insurers. All proceeds of insurance with respect to the Works or any other
        Collateral shall be paid directly to the Lender and applied to the Loan.

                        (c)     If the Grantor shall fail to keep the Works in good condition or pay
        any premium.that may result in the cancellation of the insurance coverage required
        hereunder, the Lender may, at its option, at any time and from time to time advance sums
        as the Lender in its discretion may deem necessary to protect the COiiateral and pay any
        or all such insurance premiums on behalf of the Grantor. All such sums so paid or
        advanced by the Lender _shall immediately and without demand be repaid by the Grantor
        to the Lender, together with interest thereon at the rate then being charged on the
        principal indebtedness evidenced by the Note, or, if not repaid by the Granter, shall be
        added to the principal indebtedness secured by this Security Agreement.

                SECTION 3.6             Defend Title; Notice of Aqyerse Claims. The Grantor
will (at the Grantor's expense) defend the Grantor's right, title and interest in and to the Works
and all other Collateral against the claims of any ·third party: The Grantor shall notify the Agent
in writing promptly after obtaining knowledge of any adverse claim with respect to the
authenticity or provenance of, or of the Grantor's right, title or interest in or to, the Works.

                 SECTION 3.7            Dispositions and Other Liens. The Granter will not (i)
sell, assign (by operation of law or otherwise), exchange or otherwise dispose of any of the
Collateral, or (ii) incur, create, assume or suffer to exist any lien, directly or indirectly; upon or
with respect to any of the Grantor's right, title or interest in or to any of the Collateral except for
the security interest created by this Security Agreement.

                SECTION 3.8            Inspection. The Grantor will, at least annually and more
frequently as the Agent may reasonably request, permit the Agent or its agents or representatives,
at reasonable times to inspect, verify, authenticate or otherwise evaluate the location, condition, ·
environment and value of, and the security system protecting, the Works which shall be at the
Grantor's expense.



                                                 -4-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 25 of 60 PageID #:125




               SECTION 4.             REMEDIES. Upon the occurrence and during the
continuance of an Event of Default:

                       (a)     The Agent may exercise in respect of the Collateral, in addition to
       other rights and remedies provided for herein or otherwise available to it, all the rights
       and remedies of a secured party under the Uniform Commercial Code applicable from
      .time to time in the State of New York (the "Code") and the Agent or its authorized agent
       may:

                                      (i)     require the Grantor to, and the Grantor hereby
              agrees that the Grantor will, at the Grantor's expense and upon request of the
              Agent forthwith, assemble all O{ part of the Collateral as direeted by the Agent
              and make the Collateral available to the Agent at a place to be designated by the
              Agent that is convenient to the Agent,

                                      (ii)   require the Grantor to, and the Grantor hereby
              agrees that the Grantor will, at the Grantor's expense and upon the request of the
              Agent, make available all of the Grantor's premises and facilities for the specific
              purpose of the Agent's taking possession of, removing or putting the Collateral in
              saleable form, and                 ·

                                      (iii)   without notice except as specified below, sell the
              Collateral or any part thereof in one or more parcels at public or private sale, at
              any of the Agent's offices, at any of the Grantor's offices or places of business, at
              a consignee's location, at an art dealer's location or any other location, for cash,
              on credit, for future delivery or for any other consideration, and upon such other
              terms as the Agent may deem commercially reasonable.

      The Agent agrees that, to the extent notice of sale shall be required by law, at least ten
      days' notice to the Grantor of the time and place of any public sale or the time after
      which any private sale (including any auction referred to in subsection (b) below) may
      be made shall constitute reasonable notification. The Agent shall not be obligated to
      make any sale of the Collateral regardless of notice of sale having been given. The Agent
      may adjourn any public or private sale (including any auction referred to fo subsection (b)
      below) from time to time by announcement at the time and place fixed therefore, and
      such sale may, without further notice, be made at the time and place to which it was so
      adjourned.

                      (b)    All cash proceeds received by the Agent in respect of any sale,
      collection from, or other realization upon all or any part of the Collateral may, in the
      discretion of the Agent, be held by the Agent as collateral for, or then or at any time
      thereafter be applied (after payment of any amounts payable to the Agent under Section
      5.11 hereof) in whole or in part by the Agent against all or any part of any Obligations in
      such order as the Agent shall elect in its sole discretion.

                      (c) . The Agent shall not be required to marshal any present or future
      security for the Obligations, or to resort to such security in any particular order. The


                                              - 5-
 Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 26 of 60 PageID #:125




         Grantor agrees, to the fullest extent permitted by law, that the Grantor will not invoke any
         law relating to the marshalling of collateral, and to the extent the Grantor lawfully may,
         the Granter hereby irrevocably waives the benefits of all such laws.

                SECTIONS.               MISCELLANEOUS PROVISIONS.

                 SECTION S.1            Notices. All notices and other communications provided
 for herein shall be in writing and shall be mailed by registered or certified mail, return receipt
 requested, or nationally recognized overnight delivery service, or delivered by hand or courier to
the Agent, or to the Grantor, to the addresses set forth in the introductory paragraph of this
Security Agreement, or such other address as any party may from time to time designate by
giving written notice to the other party hereunder. All notices and other communications given
to any party hereto in accordance with the provisions of this Security Agreement shall be deemed
to have been given, if to the Agent, upon its actual receipt thereof, and if to the Gran~r, on the
fifth Business Day after the date when sent by registered or certified mail, postage prepaid,
return receipt requested, if by mail, on the next Business Day if send by overnight delivery
service, or when delivered by hand or courier or when delivery is refused, in each case addressed
to such party as pi:ovided in this Section 5.1 or. in accordance with the latest uni-evoked written
direction from such party.

               SECTION S.2            Headings. The headings in this Security Agreement are for
purposes of reference only and shall not affect the meaning or construction of any provision of
this Security Agreement.

                SECTION S.3           Amendments, Waivers and Consents. Any amendment
or waiver of any provision of this Security Agreement and any consent to any departure by the
Grantor from any provision of this Security Agreement shall be effective only if made or given
in a written agreement duly executed and delivered by the Agent.

                SECTION S.4           Intemretatign of Agreement. Time is of the essence in
each provision of this Security Agreement.of which time is an element. All terms not defined
herein or in the Note shall have the meaning set forth in the Code, except where the context
otherwise requires. Acceptance of or acquiescence in a course of performance rendered under
this Security Agreement shall not be relevant in determining the meaning of this Security
Agreement even though the accepting or acquiescing party had knowledge of the nature of the
performance and opportunity for objection.

                 SECTION S.S           Continuing Security Interest. This Security Agreement
shall create a continuing security interest in the Collateral and shall (i) remain in full force and
effect until the indefeasible payment in full in cash of all of the Obligations, (ii) be binding upon
the Agent and the Grantor and each of their respective successors, heirs and assigns and (iii)
inure, together with the rights and remedies of the Agent hereunder, to the benefit of the Agent
and its successors, transferees and assigns. Except as otherwise set forth herein, ·upon the
indefeasible payment in full in cash of all of the Obligations, the Agent agrees to execute and
deliver to the Grantor, at the Grantor's expense, such Uniform Commercial Code termination
statements and such other documentation as shall be reasonably requested by the Grantor to



                                                -6-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 27 of 60 PageID #:125




effect the termination and reJease of the liens on the Collateral created by this Security
Agreement.

                SECTION S.6             Reinstatement. To the extent permitted by law, this
Security Agreement and the rights and powers granted to the Agent hereunder shall continue to
be effective or be reinstated (following any termination of such rights and powers) if at any time
any amount received by the Agent or Lender in respect of the Obligations is rescinded or must
otherwise be restored or returned by the Agent or Lender upon the insolvency, bankruptcy,
dissolution, liquidation or reorganization of any person or entity or upon the appointment of any
receiver, intervenor, conservator, trustee or similar official for any person or entity or any
substantial part of the Grantor's assets, or otherwise, all as though such payments had not been
made.

               SECTION S.7          ·Survival of Provisions. All representations, warranties
and covenants of the Grantor contained herein shall survive the execution and delivery of this
Security Agreement and shall terminate only upon the full and final payment and performance by
the Grantor of all the Obligations.

               SECTIONS.8             Power of Attornev.

                      (a)      The Grantor hereby irrevocably authorizes and appoints the Agent,
       or any person or agent the Agent may designate, as the Grantor's attorney-in-fact, at the
       Grantor's cost and expense, to exercise, at any time after the occurrence and during the
       continuance of an Event of Default, which being coupled with· an interest, shall be
       irrevocable until all of the Obligations have been paid and satisfied in full in cash:

                                     (i)    To receive, take, endorse, sign, assign and deliver,
              all in the name of the Agent or the Grantor, any and all checks, notes, drafts, and
              other agreements, documents or instruments relatiitg to the Collateral; and

                                      (ii)    To take or bring, in the ~e of the Agent or the
              Grantor, all steps, actions, suits or proceedings deemed by the Agent necessary or
              desirable to enforce or effect collection of the Receivables.

                       (b)    In addition to the powers granted to the Agent pursuant to
      subsection (a) above, the Grantor hereby appoints and constitutes the Agent as the
      Grantor's attorney-in-fact to exercise all of the following powers upon and at any time
      after the occurrence and during the continuance of an Event of Default: (i) collection of
      Receivables or proceeds of any Collateral or (ii) conveyance of any item of Collateral to
      any purchaser thereof. The Agent's authority hereunder shall include, without limitation,
      the authority to endorse and negotiate, for the Agent's account, in full or partial
      satisfaction, as the case may be, of the Obligations, any checks or instruments evidencing
      payment of the Receivables in the name of the Grantor; execute and give receipt for any
      certificate of ownership or any document: transfer title to any item of Collateral; send
      verifications of Receivables to any obligors in respect thereof sign the Grantor's name on
      all documents deemed necessary or appropriate to preserve, protect or perfect the security
      interest in the Collateral and to file the same or file this Security Agreement as a       ·


                                               -7-
  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 28 of 60 PageID #:125




         financing statement where permitted by law; prepare, file and sign the Grantor's name on
         any notice of lien, assignment or satisfaction of lien or similar document in connection
         with any Receivable; prepare, file and sign the Grantor's name on a proof of claim in
         bankruptcy or similar document against any obligor of the Grantor in respect of the
         Receivables; and take any other actions arising from or incident to the powers granted to
         the Agent under this Security Agreement. This power of attorney is coupled with an
         interest and is irrevocable by the Grantor until the date the Obligations are paid in full,
         subject to any reinstatement under Section 5.6.

                 SECTION S.9            Appointment of Agent. Emigranta Corp. is hereby
 appointed to act as Agent on behalf of the Lender. The Lender irrevocably authorizes the Agent
 to act on its behalf under this Agreement and, in the absence of other written instructions from
 the Lender received from time to time by the Agent, to exercise such powers hereunder as are
 specifically delegated to or required of the Agent by the terms hereof, together with such powers
 as may be reasonably incidental thereto.

                SECTION S.10           [Reserved).

                  SECTION S.11           Indemnification. The Grantor agrees to indemnify and
 hold harmless the Agent and its directors, officers, employees and agents including, without
 limitation, all professionals retained by the Agent, from and against any and all costs, expenses
 (including attorneys' fees and expenses), claims, or liability incurred by the Agent or such person
 hereunder or in connection herewith, unless such claim or liability shall be due to willful
 misconduct or gross negligence on the part of the Agent or such person.

             SECTION S.12    GOvERNING LAW. THE VALIDITY,
  INTERPRETATION AND ENFORCEMENT OF THIS SECURITY AGREEMENT SHALL
. BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
  STATE OF NEW YORK WITHOUT GIVING EFFECT TO THE CONFLICT OF LAW
  PRINCIPLES THEREOF (OTHER THAN SECTION 5-1401 OF THE NEW YORK
  GENERAL OBLIGATIONS LAW).

                SECTION S.13           Jurisdiction, Venue. The Grantor and the Lender each
irrevocably submits to the jurisdiction of any New York State or Federal court sitting in the City
of New York over any suit, action or proceeding arising out of or relating to this Agreement or
any Loan Document. The Grantor hereby agrees that the Lender shall have the option in its sole
discretion to lay the venue of any such suit, action or proceeding in such courts of the State of
New York or the United States of America and irrevocably waives to the fullest extent permitted
by law any objection which the Grantor may now or hereafter have to the laying of the venue of
any such suit, action or proceeding brought in such court and any claim that any suit. action or
proceeding brought in such court has been brought in an inconvenient form. The Grantor and the
Lender each agrees that a final, non-appealable judgment of any such suit, action or proceeding
brought in such a court shall be conclusive and binding upon it.

          SECTION S.14      WAIVER OF TRIAL BY JURY. THE GRANTOR
HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVES ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION ARISING


                                               -8-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 29 of 60 PageID #:125




OUT OF, UNDER OR IN CONNECTION WITH THE LOAN DOCUMENTS OR THE
TRANSACTIONS CONTEMPLATED THEREIN. FURTHER, THE GRANTOR HEREBY
CERTIFIES THAT NO REPRESENTATIVE OR AGENT OF THE LENDER OR COUNSEL
TO THE LENDER HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT THE
LENDER WOULD NOT. IN THE EVENT OF SUCH LITIGATION, SEEK TO ENFORCE
THIS WAIVER OF RIGHT TO JURY TRIAL PROVISION. THE GRANTOR
ACKNOWLEDGES THAT THE LENDER HAS BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, INTER ALIA, THE PROVISIONS OF THIS SECTION.

                SECTION S.15          Joint and Several Liability. If there is more than one
Grantor executing this Security Agreement, all agreements, conditions, covenants and provisions
of this Security Agreement shall be the joint and several obligation of each Grantor. ·

                SECTION 5.16          Delays; Partial Exercise of Remedies. No delay or
omission of the Agent to exercise any right or remedy hereunder shall impair any such right or
shall operate as a waiver thereof. No single or partfal exercise by the Agent of any right or
remedy shall preclude any other or further exercise thereof, or preclude any other right or
remedy.




                                             -9-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 30 of 60 PageID #:125




                  IN WITNESS WHEREOF, the undersigned has caused this Security Agreement
   to be executed as of the date first above written.




  Solely for the purposes of Section 5.9:
  EMIGRANT BANK FINE ART FINANCE, LLC




                                            - 10-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 31 of 60 PageID #:125




                EXHIBIT A - LIST OF WORKS AND LOCATIONS

                                 See attached.




                                   - 11 -
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 32 of 60 PageID #:125

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CH13   A smaff carved red I         Blton     18thCentu                              H: 4 1/8 Inches                     60654          Kahane
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 33 of 60 PageID #:125


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        An exqulslUy carved polychrome lacquer iotus•
        cirt:ulardish                                      1127-1279                  Southern Son   0: 7 118 Inches                        JJ Lall
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 34 of 60 PageID #:125

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         and cover wffh &Ima xi      scene                1260-1358




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         bound cover                                        1260-1358               Yuan                                                      JJ Lall




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 35 of 60 PageID #:125

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       and cover                                           1522-1566                            0: 7 114 inches




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     Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 36 of 60 PageID #:125
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..       Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 37 of 60 PageID #:125

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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 38 of 60 PageID #:125




                     EXHIBIT C
   Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 39 of 60 PageID #:125




                                 ALLONGE TO TERM NOTE


PAYOR:                                River North Collections, LLC and Roger L. Weston
                                      Uointly, severally and collectively, the "Borrower")

PAYEE:                                Emigrant Bank Fine Art Finance, LLC ("Lender")

DATE OF NOTE:                         October 3, 2014

ORIGINAL PRINCIPAL
AMOUNT:                               $5,000,000

                                        BACKGROUND

               A.    The Lender is the holder of a certain Tenn Note, dated October 3, 2014,
executed by the Borrower and delivered to the Lender in the original principal amount of
$5,000,000 (as amended from time to time, the nNote 11).

                B.      The Lender has agreed, upon the request of the Borrower a11d subject to
the satisfaction of certain other tenns and conditions, among other things, to amend the Note.

               NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
Borrower and the Lender agree as follows:

                1.     This Allonge to Tenn Note ("Allonge") shall be and remain attached to
and shall constitute an integral part of the Note from and after the date hereof.

               2.    All references in the Note to the term "Note" shall mean the Note as
amended by this Allonge.

               3.     Section VII(ii)(C) of the Note is deleted in its entirety.

               4.     The effectiveness of this Allonge is subject to the Lender's receipt of an
original countersigned copy by Borrower of this Allonge.

                 5.     This Allonge shall be an amendment to, but not a cancellation or
satisfaction of, the Note.

                6.     This Allonge and all documents comprising or relating to this Allonge
shall be construed in accordance with and governed by the internal laws of the State of New
York without reference to conflict of laws principles.




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  Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 40 of 60 PageID #:125




               7.      This Allonge and all documents referred to in, comprising or relating to
this Allonge, constitute the sole agreement of the parties with respect to the subject matter hereof
and thereof and supersede all oral negotiations and prior writings with respect to the subject
matter hereof and thereof.

                8.      Any provision in this Allonge that is held to be inoperative, unenforceable,
voidable, or invalid in any jurisdiction shall, as to that jurisdiction, be ineffective, unenforceable,
void or invalid without affecting the remaining provisions in any other jurisdiction, and to this
end the provisions of this Allonge are declared to be severable.

               9.      EXCEPT AS MODIFIED HEREBY, ALL OF THE TERMS AND
PROVISIONS OF THE NOTE ARE HEREBY RATIFIED AND CONFIRMED.




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 41 of 60 PageID #:125




              IN WITNESSC\WHEREOF, this Allonge to Term Note has been executed by the
undersigned as of December 2015.         -r




RIVER NORT         COLLECTIONS, LLC




EMIGRANT BANK FINE ART FINANCE, LLC



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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 42 of 60 PageID #:125




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 43 of 60 PageID #:125




                           SECOND ALLONGE TO TERM NOTE


ORIGINAL PAYOR:                       River North Coliections, LLC and Roger L. Weston
                                      (jointly, severally and collectively, the "Borrower")

PAYEE:                                Emigrant Bank Fine Art Finance, LLC ("Lender")

DATE OF NOTE:                         October 3, 2014

ORIGINAL PRINCIPAL
AMOUNT:                               $5,000,000

                                        BACKGROUND

               A.    The Lender is the holder of a certain Term Note, dated October 3, 2014,
executed by the Borrower and delivered to the Lender in the original principal amount of
$5,000,000 (as amended from time to time, the "Note").

              B.     River North Collections, LLC has advised the Lender that it has changed
its name to Weston Collection, LLC.

               NOW, THEREFORE, for good an4 valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
Borrower and the Lender agree as follows:

               1.      This Second Allonge to Term Note (" Allonge") shall be and remain
attached to and shall constitute an integral part of the Note from and after the date hereof.

             2.      All references in the Note to the term "Note" shall mean the Note as
amended by this Allonge.

              3.     All references in the Note to "River North Collections, LLC" shall be
deemed references to Weston Collection, LLC, f/kfa River North Collections, LLC.

               4.     The effectiveness of this Allonge is subject to the Lender's receipt of an
original countersigned copy by Borrower of this Allonge.

                 5.     This Allonge shall be an amendment to, but not a cancellation or
satisfaction of, the Note.

               6.      This Allonge and all documents comprising or relating to this Allonge
shall be construed in accordance with and governed by the internal laws of the State of New
York without reference to conflict of laws principles.




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 44 of 60 PageID #:125




                  7.      This Allonge and all documents referred to in, comprising or relating to
   this Allonge, constitute the sole agreement of the parties with respect to the subject matter hereof
   and thereof and supersede all oral negotiations and prior writings with respect to the subject
   matter hereof and thereof.

                   8.      Any provision in this Allonge that is held to be inoperative, unenforceable,
   voidable, or invalid in any jurisdiction shall, as to that jurisdiction, be ineffective, unenforceable,
   void or invalid without affecting the remaining provisions in any other jurisdiction, and to this
   end the provisions of this Allonge are declared to be severable.

             9.   EXCEPT AS MODIFIED HEREBY, ALL OF THE TERMS AND
   PROVISIONS OF THE NOTE ARE HEREBY RA TlFIED AND CONFIRMED.

                 IN WITNESS WHEREOF, this Second Allonge to Tenn Note has been
   executed by the undersigned as of Jui1e S: 2017.




   WESTON COLL CTION, LLC flk/a River North Collections, LLC




   EMIGRANT BANK FINE ART FINANCE, LLC



   By: _ _ _ _ _ _ _ _ _ __
      Name:
      Title:




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                                                            US .ACTIVE-134693138. 1
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 45 of 60 PageID #:125




               7.      This Allonge and all documents referred to in, comprising or relating to
this Allonge, constitute the sole agreement of the parties with respect to the subject matter hereof
and thereof and supersede all oral negotiations and prior writings with respect to the subject
matter hereof and thereof.

                8.      Any provision in this Allonge that is held to be inoperative, unenforceable,
voidable, or invalid in any jurisdiction shall, as to that jurisdiction, be ineffective, unenforceable,
void or invalid without affecting the remaining provisions in any other jurisdiction, and to this
end the provisions of this Allon-ge are declared to be severable.

          9.   EXCEPT AS MODilnED HEREBY, ALL OF THE TERMS AND
PROVISIONS OF THE NOTE ARE HEREBY RATIFIED AND CONFIRMED.

               IN WITNESS WHEREOF, this Second Allonge to Term Note has been
executed by the undersigned as of June_, 2017.




Roger L. Weston



WESTON COLLECTION, LLC f/k/a River North Collections, LLC
By: GreatBanc., Inc., Manager
By: _ _ _ _ _ _ _ _ __
Name: Roger L. Weston
Title: President


EMIGRANT BANK FINE ART FINANCE, LLC




                                                - 2 -
                                                        US._ACTIVE-134693138.1
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 46 of 60 PageID #:125




                     EXHIBITE
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 47 of 60 PageID #:125




                         AMENDMENT OF SECURITY AGREEMENT

                 This AMENDMENT OF SECURITY AGREEMENT ("Amendment"), is entered
 into as of June _1, 2017, between WESTON COLLECTl()N, LLC f/k/a River North
 Collections, LLC (the "Grantor") and EMIGRANTA CORP. (the "Agent"), as agent for
 Emigrant Bank Fine Art Finance, LLC (the "Lender").

                                          BACKGROUND

                A.      The Grantor has previously delivered that certain Security Agreement
 dated as of October 3, 2014 (as amended, modified, supplemented or restated from time to time,
 the "Security Agreement"), which secures certain loans made by Lender to Grantor.

              B.      Grantor as advised the Agent and the Lender that it has changed its name
 from River North Collections, LLC to Weston Collection, LLC.

                C.      AU tenns capitalized but not defined herein shall have the meanings
 ascribed to them in the Security Agreement

                NOW, TfIBREFORE, mcrirporating the Background section herein, intending to
 be legally bound hereby and for good an<l valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, the parties hereto agree as follows:

                Section 1.      Amendment to Security Agreement.

               1.1    All references in the Note to "River North Collections, LLC" shall be
 deemed references to Weston Collection, LLC, f/k/a River North Collections, LLC.

                Section 2.      Reaffinnation.

                2.1      As collateral security for the prompt payment in full when due (whether at
 stated maturity, by acceleration or otherwise) of the Obligations. the Grantor hereby pledges,
 mortgages. charges, hypothecates and assigns (by way of security) to the Agent, and grants to the
 Agent a continuing security interest in, all of Grantor's right, title and interest in the Collateral.
 To the extent the Grantor has granted a security interest to the Agent under the Security
 Agreement in any or all of the Collateral prior to the date of this Amendment, this Amendment
 shall be deemed to be a reaffirmatiQn of the previously granted security interest(s). Grantor
 acknowledges that this Amendment does not extinguish the liens and security interests created
 under the Security Ag~ement and Grantor reaffirms the previously granted security interests
 thereunder. It is the intention of the Grantor and the Agent that all existing security interests
 remain continuously perfected.

                 2.2    Except as expressly provided herein, nothing contained herein shall alter
 or amend the terms of the Security Agreement, and Grantor confinns and agrees to be bound by
 all of the terms and conditions contained in the Security Agreement.

                2.3   The Grantor hereby reaffirms all of its representations, warranties, and
 covenants to the Agent contained in the Security Agreement (including but not limited to the




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Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 48 of 60 PageID #:125




powers of attorney contained therein) and warrants that all such representations, warranties, and
covenants are true and correct as of the date hereof.

                Section 3.      Miscellaneous.

                3 .1   The Amendment shall be governed by and constructed in accordance with
the laws of the State of New York without giving effect to the conflict of law principles thereof
(other than Section 5-1401 of the New York General Obligations Law).

               3.2     Grantor agrees to do such further acts and execute and deliver to the Agent
such additional agreements, instruments and documents as may be reasonably required to carry
out the purpose of this Amendment.

                3.3      Any provision in this Amendment that is held to be inoperative,
unenforceable, voidable, or invalid in any jurisdiction shall, as to that jurisdiction, be ineffective,
unenforceable, void or invalid without affecting the remaining provisions in any other
jurisdiction, and to this end the provisions of this Amendment are declared to be severable.

    .            3.4    This Amendment may be executed in any number of counterparts and by
the different parties on separate counterparts. Each such counterpart shall be deemed to be an
original, but all such counterparts shall together constitute one and the same Amendment.




                                                  -2-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 49 of 60 PageID #:125




          JN WITNESS WHEREOF, the undersigned have caused this Amendment to be executed
   by their duly authorized officers on the date first above written.



   WESTON COLLECTION, LLC f/k/a River North Collections, LLC




   I<:MIGRANTA CORP.


   By: _ _ _ _ _ _ _ _ _ _ __
       Name:
       Title:




                                                    -3-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 50 of 60 PageID #:125




         IN WITNESS WHEREOF, the undersigned have caused this Amendment to be executed
 by their duly authorized officers on the date first above written.



 WESTON COLLECTION, LLC f/k/a River North Collections, LLC

 By: GreatBanc., Inc., Manager
 By: _ _ _ _ _ _ _ _ __
 Name: Roger L. Weston
 Title: President


 EMIGRANTA GORP.



~-- Title:     Pau..~




                                          -3-
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 51 of 60 PageID #:125




                      EXHIBITF
                            Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 52 of 60 PageID #:125
                                                                                                                                                                          RECEIVED
                                                                                                                                                            IL SECRETARY OF STATE
                                                                                                                                                           UNIFORM COMMERCIAL CODE
                                                                                                                                                                20141003 1129
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS                                                                                                                                             $20.00 Electronic
 A. NAME & PHONE OF CONTACT AT FILER (optional)
 Corporation Service Company                                                          800-858-5294                                                                19691608                                   FS
 Ii}. E-MAIL CONTACT AT Flt.ER (oplional)
 FilingDept@cscinfo.com
 C. SEND ACKNOWLEDGMENT TO: {Name and Address)

       I                                 Corporation Service Company                                                 -i
                                                 801 Adlai Stevenson Drive


       L                                          Springfield, IL, 62703                                             _J                            THE ABOVE SPACE 1$ FOR FILING OFFICE use ONI..y

1. DEBTOR'S NAME: Provide only 2J1t Debtor name (2a or 2b) (use exact. fuH rname; do notoml, modlly. or abbreviate any partol the Oebtor'a name); if any partot!lle lndMduat Dabtor'a
   name w!ll not flt In Une 2b. leave all of Item 2 blank. ch<lek hete O •>nd provide lhe Individual Debtor Information In Item 10 ot the Financing state111&nt Addendum (Form UCC 1Ad)

       ~a. ORGANIZATION'$ NAME

           River North Collections, LLC
OR
       ~b. INOMOUAl'S SURNAME                                                                               FIRST PERSONAl NAME                                     AOOITIOHAL HAME(S)flNITIAl(S) SUFFlX


 1e. MAIUNG ADDRESS                                                                                         CITY                                                   .STATE
                                                                                                                                                                            i:TALCOOE             COUNTI!Y

360 W. Illinois St, Suite 11 C                                                                               Chicago                                                 IL      60654                 USA
2. DEBTOR'S NAME:                Provlde only !!.!l!!. Oebtor name (2a or2b)(useexaet. Ml name; do 110tomlt. m<>dl!y, or al>breviateeny pert of the Oeblol's name); if any partottbetm1Mduaf Oabb>I'•
      name will not flt In line 2b. leave alt of Item 2 blallk, cheek here    Oand provide Ille Individual Oebtor Information ln Item 10 of the Flnljnclng statsmant ~m (Form UCC 1Ad)

        2-. ORGANIZATION'S NAME

OR      2b. INDIVIOUAJ.' S SURNAME                                                                                                                                  AOOITIONAL NAME(S)/INITIAl(S} SUFFIX
                                                                                                            FIRST PERSONAL NAME


 2c. MAILING ADDRESS                                                                                        CITY                                                    STATE   rOSTALCOOE            COUNTRY



3. SECURED PARTY'S NAME {or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY):                                      Provfde   onty   Qll.t secured   J>&llY naMe (3a or 31>)
        3a. ORGANIZATION'S NAME

           EMIGRANTA CORP.
OR     3b. INOIVIDIJAl.'S suRNAME                                                                           FIRST PERSONAL NAME                                    AOOITIONAl NAME(S)/INITIAl.(S} SUFFIX


3c. MAILING AOORESS                                                                                         CITY                                                   STATE    rOSTAI. COOE         COUNTRY

6 E. 43rd Street                                                                                             NeWYork                                                 NY      10017                USA
4. COLLATE RAL: This financing statement covera the fOllOwing collateral:
The property in Schedule A and all proceeds thereof and any amount, including but not limited to any
insurance proceeds, that compensates or indemnifies for the loss or damage to any such property.




5. Check 2!llX if applicable and cfle<:f( 2!!J:t ona box: COiiaterai is       n   held in a Trust {see UCC1Ad, itam 17 and Instructions)         LJ being admlnist&red by a Oecendenfs Personal Representative
6a.   Ched<   2!!J:t   If applicable and cheek   2!l!Y.   one box:                                                              6b.        2!llX ff applicable and ehsclt !!!!11 one box:
                                                                                                                                      Checlc
           PubUc·Flnance Transac!lon             Manufactured-Home Trannetlon       LJ A Oebttor Is a Transmitting Ulllil.y           0Asncuttural Lien         0Non..vcc Fillng
7.   AlTERAATlvE DESIGNATION (tf applk:able):                LJU!sa...n.-ot   QeonstgneetConalgnor       n S'efter/Buyer LJ       Balles/Baff or     lJ   Ueensee/UCensor

8. OPTIONAi. FILER REFERENCE DATA:

      WESTON [90391752)

FILING OFFICE COPY· UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20111)
    Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 53 of 60 PageID #:125
                                                          SCHEDIJ LE A




                                                                                                                   Lacquer on wood,
       Peach shape incense box with mother-of-pearl                         Late Ming                              mother-of-pearl, metal
       inla                                                                                     H: 2.6cm, L: 6.9cm wire




       Red carvj!(! lacquer ink paste box with peony                        Late Ming
       de                                                                                       H: 3.8 cm, D: 6.5    la     er on wood




•      A smaU circular box with black uri deooration
                                                                            Late Ming
                                                                                                H: 6.3 cm, D: 7.1 an La   uer on wood




       A plum blossom-shaped cinnabar lacquer dish
       carved with five lotus flowers on dla r round                                            D: 14.4cm




                                                                                                                     Lacquer, cloth (?),
       A peach-shaped mother-of-pearl inlaid gHded                                                                   mother-of-pearl, metal
       la uer box with five bats amon clouds              17th/18th centu                       H: 4 cm L: 12 cm     interior lin




                                                                                                H: 6.5 cm, 0: 10.1
                                                                            Mi                  cm                   La        ronwood



       A square cinnabar lacquer box carved with a
       scholar at lecture looking at another scholar                        Qlng Dynasty,
       leaving the terrace. The border carved with ftowers                  Olanlong            H: 11.4cm, L: 28.4
       and ei ht Buddhist       bols on a dia er round.    18th Centu              d            xW:28.4              la        ronwood




                                                                                                L: 45 cm, W: 30.5
                                                          17th-18th Cent                        cm                   La        r on wood




                                                                            Ming Dynasty,
                                                          1522-1566         Jia'       Period   H: 28 cm             La        ron metal




                                                                                                                     Lacquer on wood or
                                                                                                                     cloth/ metal llnlng
                                                                            Mln D ast           H: 4.7 cm D: 6.8 cm interior
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 54 of 60 PageID #:125
                                                      SCHEDULE A




                                                                                                                  Lacquer, mother-of-
                                                                                                                  pearl on wood, animal
                                                                                                                  hair
                                                                                                                  Attachment Cloth
                                                                                                                  Pouch, Japanese
   A mother-of-    rt inlaid black la uer brush      16th-17th Centuries                  L: 8 7/8 inches         Wood Stora     Box




                                er box and cover                                          H: 7inches                       ronWood




   A smaU caived red la   uer brush ot Bilo          16th Cen                             H: 4 1/8 Inches         La     uer on Wood




                                                                           Qing, Qiantong
                                           vase Hu 1736-1795                 rtod         H: 18 112 Inches

                                                                                          (from left}(1)
                                                                                          20.5x8.0, (2)
                                                                                          9.7x5.1, (3) 7.5x4.5,
                                                                                          (4) 8.5x5.0,            Ink cake with colours
                                                                                           518.5x11.0cm           on surface




                                                                                                                  Lacquer, metal, wood
   Red caived lacquer snuff bottle with dragons in the                                                            and/or metal base (?).
   cloud                                               1860-1930                          H: 2inches                 er micher or textile




                                                                                                                  Lacquer on wood
   Polychrome carved lacquer snuff bottle with                                                                    and/or metal base (?}.
   figures In the landscape                          1860-1920                            H: 3 1/8 inches         metal




                                                                                          L: 6 518 inches, W:
                                                     Qi anion              Qin            53/S Inches
    Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 55 of 60 PageID #:125
                                                         SCHEDULE A




                                                         1279-1368    Yuan              0:5inches




                                       uer box and cover 1279-1368    Yuan              L: 7.5 inches




       A very rare and finely carved cinnabar lacquer
        ·rcu1ar dish                                     1279-1368    Yuan              D: 121/4 Inches       La   uer on wood




                                                         960-1368     So     -Yuan      D: 7 7/8 Inches




       An exquisllly carved polychrome lacquer 'lotus'
       circular dlsh                                     1127-1279    Southern Son      D: 7118 inches        Ja anese wood box




                                                                                                              Lacquer on wood,
                                                                                        L: 11 7/16            inlaid with mother-of-
                                                         1279-1       Yuan              inches                   arl and metat 1Nire




I      Gurl brush handle and cover                       13th
                                                                      Late Song early
                                                                      Yuan




       A smaR red carved I    uer in a vase sha e




       A red carved la                                                Min               0; 11.5 inches




                                                                      Ming, Jiajlng     L:16 718 inches, W:
                                                         1522-1566    Period            10 112 Inches
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 56 of 60 PageID #:125
                                                       SCHEDULE A




                                                                                             H:21/2 inches, W:6 Lacquer on wood,
     mother-of-pearl inlaid black lacquer square box                                         314 Inches,        inlaid with mother-of-
   and cover with sima xla      scene                  1260-1358              Yuan           0:6 314 inches            arl and metal wire



                                                                                             H: 4 3/4 inches, W:
                                                                                             10 inches,
   A mother-of-pearl inlaid black lacquer octagonal                                          1/4. L: 1o114       Lacquer on wood,
     x and cover                                       1260-1358              Yuan           inches              mother-of    rl




                                                       4th-3rd BC             Eastern Zhou   L: 6 114 inches each La       ron wood




   A black inlaid lacquer square dish with everted
         and indented comers, standing on a low                               Late Yuan or
                        dfoot                          14th--15th centuries   Earl Mi        W: 17.8 cm




                                                       16th Centu             Min            L: 18 114 inches




                                        dish                                  So     uan     O: 10 314 Inches




   A rare black la   uer bracket-lobed dish            1279-1388              Yuan            : 8 114 inches




               uer bracket-lobed tra                   960-1279               Son            D: 141nches




                                                       1426-1435              Earl Min       0: 51/8 inches




      extremely rare carved black and cinnabar
        er 'rose' circular dish                        960-1279               Son            D: 7 112 inches
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 57 of 60 PageID #:125
                                                    SCHEDULE A




                                                    960-1368            So     Yuan     17.Scm                  La   uer on wood




                                                    13th ce             SouthemS        o: 15cm




    black lacquer cupstand but With some red layers
    corated overaH With bands of tlxl               13-14th centu       Yuan            o: 16.scm



                                                    10th-13th Century                   H: 2 inches, O: 5 314
                                                    A0960-1279          So              Inches                  Bronze



  A Circular box and cover of rounded form with
     llow reeeased base, gurl scrolls, Shou
     racter on top surrounded by four further
      acters                                        15th centu                          0:16.Scm




                                                    ca.1400             Earl Min        O:Scm




                                                                                        O: 13inches




                                                                        Ming, Jiajing
     imperial cinnabar lacquer daoist subject box                       mark and
   nd cover                                         1522-1566              ·od          O: 71/4 Inches




                                                                        Ming, Jiajing
   arved Polychrome Lacquer Domed Peach·                                mark and
  Sha    Box and Cover                              1522-1566             riod          D: 3 118 inches         La   uer on wood




                                                    1eth/1 7th   cen                    D: 3 118 inches         Ja   nese wood box



  Red round incense box with carved flowering
  branches of prunus on a finely drawn water diaper
   round                                            15th Centu     AD   Mio             D: 3 Inches
Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 58 of 60 PageID #:125
                                                      SCHEDULE A




                                                                             Southern Song/
                                                      13th cent              ea Yuan        D 21.7 cm            La uer on wood




                                                      16th Centu   AD        Late Min       0:48.Scm




                                                                             Late Eastern
                 uer circUlar box and cover           4th- 3rd centu BC      Zhou           O: 6 inches




                                                                             Late Eastern
                                                      4th- 3rd centu BC      Zhou             : 5 518 inches

      old Chinese seal paste box and cover of
      ndrical form; cinnabar lacquer carved on ttie·
   top With a scene of boys at play amongst rocks and
   pine an on an earth diaper grounq; the sides
   carved with a continuous band of ke -fret desi     14th/15th centu   AO   Yuan           0:72cm




                               r scroll Ira           14th-15th centuries    M'             L: 22 1/4 inches     La   ueron wood


                                                                                                                 Lacquer on wood,
                                                                                                                 mother-of-pearl.
                                                                                                                 Implements: lnkstone,
                                                                                                                 and bronze water-
   Brown lacquer writing box and cover with mother-                          Yuan/early     L: 11 inches, W: 6   dropper
           inla of mandarin ducks                     14th-15th centuries    M'             1/4 inches           Ja    esewoodbox




                                                      10th centu             Liao           H: 9 1/8 inches




   Persimmon-colored Stoneware Tea Bowl               11th-12th centuries    Northern So    D: 4 7/8 inches      Stoneware




                                                                                            L 37.0 cm, W 14.3
   Carved Rectan ular Tra with Two Birds              14th centu              uan           cm H 3.0 cm          La       er on wood




   Sliver octafoll dish with   o birds                12th-13th centu        Southern Son   D: 5 112 inches      Sliver
    Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 59 of 60 PageID #:125
                                                       SCHEDULE A




                                                       15th ce               Min             W: 11 116 inches      La      uer on wood



                                                                                             L: 7 7/16inches, H:
                                                                                             7 7/16 inches,
                                                       16th/17th centu                          are                La        ron wood




                                                       16th oentu            Min             L: 13 112 Inches      La        ronwood




                                                                                                                   Lacquer on wood and
                                                       1127-1279             Southern So     0: 8 318 inches       cloth       .




                                                                             Son                                             ronWood




                                                       1127-1279             Southerns       D: 4 3/4 inches       Porcelaln




                                                                                                                   Lacquer on wood,
                                                       96().1    9           So              0:71nches             metal rim




                                                                                                                   Lacquer on wood, Hp
                                         r dishes      11th-12th centuries   Son             0:6inches.each        mounted in metal




~
       A Black La                                                            Northern Son    L: 101/8 inches       La       ronWood




I                                   s                                        Northem Son     L: 11 1/4 inches      La       ron Wood




       A Carved Red, Yellow, Green and Black Lacquer                         Ming Dynasty,
       'Qilin' Dish                                    1522-1566             J ·1n Period    O: 6 518 Inches       La uer on Wood
    Case: 1:18-cv-00383 Document #: 15-1 Filed: 02/26/18 Page 60 of 60 PageID #:125
                                                        SCHEDULE A




\      A Cinnabar Lacquer 'Chrysanthemum' Brush and
       Cover                                            16th Cen           L: 9 718 inches
                                                                                             Lacquer on wood
                                                                                             (or/and cloth), animal
                                                                                             hair




                                                                                             Lacquer on wood,·
                                                                                             Interior with silver
                  uer Bowl with two ruyi-head scrolls   16th Centu   Min   D: 7 5/8 inches     atedlining




                                                                           D: 8lnches
